Case 4:18-cv-01511-PJH Document 1 Filed 03/09/18 Page 1 of 13

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Telephone: (916) 846-9391

Facsimile: (916) 672-9290

Attorneys for Defendant,
RASH CURTIS & ASSOCIATES

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
ABDULLAH POPAL, CASE NO:
Plaintiff, Contra Costa County Case No. L18-00663
VS.
DEFENDANT RASH CURTIS &

RASH CURTIS & ASSOCIATES; and
DOES | ~ 10, inclusive,

ASSOCIATES NOTICE OF REMOVAL

Defendant.

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TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant RASH CURTIS & ASSOCIATES hereby
removes to the Court, the state court action described below:

1. On February 13, 2018, an action was commenced in Superior Court, State of
California, Contra Costa County, entitled ABDULLAH POPAL, Plaintiff, v. RASH CURTIS &
ASSOCIATES, Defendant as case number [1 8-00663.

2. On or about February 20, 2018, RASH CURTIS & ASSOCIATES was served with
the Summons and Complaint, attached hereto as Exhibit A; consequently, the timing of this
removal is proper. See 28 U.S.C. § 1446(b)(1). The contents of Exhibit A includes the summons,
civil case cover sheet, complaint and, notice of case management conference. The contents of

Exhibit A is all process, pleadings, and orders served upon RASH CURTIS & ASSOCIATES in

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DEFENDANT RASH CURTIS & ASSOCIATES NOTICE OF REMOVAL

 

 
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the original state court matter.

3, This Court has jurisdiction to hear this case because this action is a civil action of

which this Court has original jurisdiction under 28 U.S.C. § 1131, and is one which may be

removed to this Court by Defendants pursuant to the provisions of 28 U.S.C. § 1441(a) in that it

arises under the federal Fair Debt Collection Practices Act (15 U.S.C. § 1692, ef seq.).

DATED: March 9, 2018

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BERMAN BERMAN BERMAN
SCHNEIDER & LOWARY, LLP

/ Ky OT Hn

“MARK E. LOWARY, ESQ, —
DAVID R. CASADY, ESQ.
AMANDA N. GRIFFITH, ESQ.
Attorneys for Defendant
RASH CURTIS & ASSOCIATES

 

DEFENDANT RASH CURTIS & ASSOCIATES NOTICE OF REMOVAL

 
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Exhibit A
BY FAX

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Case 4:18-cv-01511-PJH Document 1 Filed 03/09/18 Page 4 of 13

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Case 4:18-cv-01511-PJH Document 1 Filed 03/09/18 Page 5 of 13

 

Lave Offices of Todd

reevohene: 877-206-4741 encuns 366-693-0228

21550 Oxnard St, Sulte/80°
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arronney ron gunn Plaintiff, ABDULLAH POPAL

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SUPERIOR COURT OF THE STATE OF CAUIFON|s

 

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INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

CM-010

To Plaintits and Others Filing Flest Papers, if you are filing a first paper (for example; a complaint) In a divil casa, you must
complete ard fla, along with your first paper, the Civil Case Cover Shaet contained on page. 1. This information will be used:to compile

slatistics about the types and numbers of cases fi
one box forthe case: type that best describes the case, If the case fils both a
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Fo assist you in completing the sheet, examples-of the cases that belong under.each tase type in iter 4 are provided below, A cover

sheal must be filed onty wilh your initial paper. Failure to file a cover sheal with the first pa
its coungél, or-bath to sanctions under rules 2.30 and 3,220 ofihe Caifomla Rules of Court,

Te Parties In Rule 3,740 Cellections Cases. A “callactions casa"

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under rule 3,740 la defined as an action for recovery of money

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which property, services, or money was acquired on credit. A collections case dass not inchide an action. seeking the fallowing: (1) tort
damagas, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, of (5) a prejudgment writ of
attachment. The Identification at a case as a rule 3.740 collections oase on this form means that It will be exempt from the general

bme-for-service raquirements and case management rules,
case will be subject to tha requirements for service and obtaining ajudgmentin rule 3.740,

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To Parties in Complex Cages. tn complex cases only, parlies must alsc use tha Civil Case Cover Sheel to designate whather the

case Is complex. If a plaintiff belleves the cage is complex under rule 3.400 of the Catifomia Rules of Court, thig must be indicated by

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Non-PUPDAWD {Other} Tort

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Defamation (a.g., standar, libel}

(13)

Fraud (18)

Imtelieclual Proparty {19}

Professional Negligence (26)
Legal Malpractice
Other Professional Malpractice

{net medical or legal}

Other Non-PYPDAVO Tort (38)

Employmant
Wrongful Terninafian (36)
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Insurance Coverage (hot provisionally
complex) (18)

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Olher Contract (373
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CIVIL CASE COVER SHEET

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Case 4:18-cv-01511-PJH Document 1 Filed 03/09/18 Page 7 of 13

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Todd M, Friedman (216752) FEB 13 20i¢

SUPERIOR COURT OF THE STATE OF CALIFORNIA DEPT |

FOR THE COUNTY OF CONTRA COSTA

LIMITED JURISDICTION 8
CASE NO.: 00663
ABDULLAH POPAL,
COMPLAINT
Plaintiff,
1. Violation of Rosenthal Falr Debt
-Vs- Collection Practices Act

Collection Practices Act
3. Violation of California Consumer
Credit Reporting Agencies Act

RASH CURTIS & ASSOCIATES: Does I-10

inclusive,

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) 2. Violation of the Federal Fair Debt
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Defendant. (Amount Not to Exceed $10,000)

 

 

 

I. INFRODUCTION
1. This is an action for damages brought by an individual consumer for Defendant's
violations of the Rosenthal Fair Debt Collection Practices Act, Cal Civ Code §1788, ef seq.
(hereinafter “RFDCPA”) and the federal Fair Debt Collection Practices Act, 15 U.S.C. § 1692,
et seq., both of which prohibit debt collectors from engaging in abusive, deceptive, and unfair
practices; and for Defendant's violations of the California Consumer Credit Reporting Agencies
Act, California Civil Code § 1785.25 (a) (hereinafter “CA CCRA”), which regulate the
collection, dissemination, and use of consumer information, including consumer credit
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Law Offices of Todd M. Friedman, P.C, BTEEHEN ms oa

21550 Oxnard St., Suite 780 SUPERIOR Coty OP nie EEE Ue anon

Woodland Hills, CA 91367 oy ne conn NN

Phone: 877-206-4741 S, Ceo cee

Fax: 866-633-0228 SiAgian,

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Attorneys for Plaintiff o PER LOCAL RULE THIS

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Case 4:18-cv-01511-PJH Document 1 Filed 03/09/18 Page 8 of 13

2. Plaintitf, ABDULLAH POPAL (‘Plaintiff’), is a natural person residing in
CONTRA COSTA County in the state of California, and is a “debtor” as defined by Cal Civ
Code §1788.2(h). Plaintiffis a “consumer” as defined by 15 U.S.C. §1692a(3),

3. At all relevant times herein, Defendant, RASH CURTIS & ASSOCIATES,
(“Defendant”), was a company engaged, by use of the mails and telephone, in the business of
collecting a debt from Plaintiff which qualifies as a “debt,” as defined by 15 U.S.C. §1692a(5)
and as a “consumer debt,” as defined by Cal Civ Code §1788,2(0). Defendant regularly attempts
to collect debts alleged to be due them, and therefore is a “debt collector” as defined by the is a
FDCPA, 15 U.S.C. §1692a(6), and the RFDCPA, Cal Civ Code §1788.2(c). Further, Defendant
regularly provides information to consumer reporting agencies and is therefore an “information!
furnisher” as defined by the CA CCRA,

/ «HT, FACTUAL ALLEGATIONS

1. At one or more times prior to the filing of the instant complaint, including within
the one year preceding the filing of this complaint, Defendant reported derogatory information
on Plaintiff's credit report. Defendant alleges that Plaintiff owes a past due balance. However,
Plaintiff is informed, upon valid information and belief, that the reporting is inaccurate.

2. Due to the reporting, Plaintiff suffered emotional stress and a tarnished credit
score that could, will, and/or will continue to, prevent her from certain purchases and/or loans.

3. Due to the above actions, Plaintiff retained counsel,

4, Defendant’s conduct violated the RFDCPA and FDCPA in multiple ways,
including but not limited to:

a) Falsely representing the character, amount, or legal status of Plaintiffs debt (§
1692e(2)(A));

b) Communicating or threatening to communicate credit information which is
known or which should be known to be false (§ 1692e(8));

c) Using false representations and deceptive practices in connection with collection
of an alleged debt from Plaintiff (§ 1692e(10);

d) Using unfair or unconscionable means against Plaintiff in connection with an
attempt to collect a debt (§ 16921);

 

 
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5. As stated, Defendant has also been providing derogatory and inaccurate
statements and information relating to Plaintiff and Plaintiff's credit history to various credit
reporting agencies, as that term is defined by 15 U.S.C. 168ta(f),

6. Defendant is aware that the credit reporting agencies to which they are providing
this information are going to disseminate this information to various other persons or parties who
will be reviewing this information for the purpose of extending credit, insurance or employment.

7, As a result of Defendant’s inaccurate reporting of Plaintiff's accounts, Plaintiff's
credit score decreased. Plaintiff was and/or will be denied future loans due to the derogatory
items placed by Defendant on Plaintiff's credit report.

8, The inaccurate information negatively reflects upon the Plaintiff, Plaintiff's credit
repayment history, Plaintiffs financial responsibility as a debtor and Plaintiffs credit
worthiness,

9... . The credit. reports haye.been and continue to be disseminated to various persons
and credit grantors, both known and unknown, |

10.“ Plaintiff has been damaged, and continues to be damaged, in the following ways:

a, Emotional distress and mental anguish associated with having incorrec#
derogatory personal information transmitted about Plaintiff to other people
both known and unknown; and

b, Decreased credit score which may result in inability to obtain credit on future
alfempits.

1}. At all times pertinent hereto, Defendant was acting by and through its agents]
servants and/or employees who were acting within the course and scope of their agency or
employment, and under the direct supervision and control of Defendant herein.

12, At all tines pertinent hereto, the conduct of Defendant, as well as that of its
agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly
negligent disregard for federal and state laws and the rights of Plaintiffs herein.

13, Defendant’s conduct was a direct and proximate cause, as well as a substantia!

factor, in causing the injuries, damages and harm to Plaintiff that are outlined more fully above,

and as a result, Defendant ts liable to compensate Plaintiff for the full amount of statutory,

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actual and punitive damages, along with attorneys’ fees and cosis, as well as such other relief
permitted by law.

14. As a result of the above violations of the RFDCPA, FDCPA, and CA CCRA,
Plaintiff suffered and continues to suffer injury to Plaintiff's feelings, personal humiliation,
embarrassment, mental anguish and emotional distress, and Defendant is liable to Plaintiff for
Plaintiff's actual damages, statutory damages, and costs and atlorney’s fees,

COUNT I: VIOLATION OF ROSENTHAL
FAIR DEBT COLLECTION PRACTICES ACT

15. Plaintiff reincorporates by reference all of the preceding paragraphs.
16. To the extent that Defendant’s actions, counted above, violated the RFDCPA,
those actions were done knowingly and willfully.

PRAYER FOR RELIEF

- WHEREFORE, - Plaintiff ‘respectfully prays that judgment be entered against the

Defendant for the following:

Actual damages;

Statutory damages for willful and negligent violations;
Costs and reasonable attorney’s fees: and

For such other and further relief as may be just and proper.

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COUNT II: VIOLATION OF FEDERAL
FAIR DEBT COLLECTION PRACTICES ACT

17, Plaintiff reincorporates by reference all of the preceding paragraphs.
18. To the extent that Defendant’s actions, counted above, violated the F DCPA, those
actions were done knowingly and willfully.
PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

A. Actual damages;
B Statutory damages for willful and negligent violations:
C, Costs and reasonable attorney’s tees; and

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accuracy of any information on a specific transaction. or experience provided to a consumer

 

 

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dD. For such other and further relief as may be just and proper.

COUNT Uk: VIOLATION OF THE CALIFORNIA CONSUMER CREDIT
REPORTING AGENCIES ACT

19. Plaintiff incorporates by reference all of the proceeding paragraphs.

20. California Civil Code § 1785.25 (a) states that a "person shall not furnish
information on a specific transaction or experience to any consumer credit reporting agency if
the person knows or should know the information is incomplete or inaccurate."

21. California Civil Code § 1785.25 (b) states that a furnisher that determines a
report to a credit reporting agency is not accurate or complete shall promptly notity the
consumer reporting agency of that determination and provide corrections to the consumer
reporting agency that is necessary to make the information complete and accurate.

22, Califomia Civil Code § 1785.25 (c} provides that if the completeness or

reporting agency is disputed by the consumer, the furnisher may not continue reporting the
infonnation unless it provides a notice to the consumer reporting agency that the information is
disputed by the consumer.

23, Defendant negligently and willfully furnished information to the credit reporting
agencies it knew or should have known was inaccurate,

24, Based on these violations of Civil Code § 1785.25 (a), Plaintiff is entitled to the
remedies afforded by Civil Code § 1785.31, including actual damages, attorney's fees, pain and
suffering, injunctive relief, and punitive damages in an amount not tess than $100 nor more than

$5,000, for each violation as the Court deems proper,

PRAYER FOR RELIEF
WHEREFORE, Plaintiff respectfully requests that judgment be entered against
Defendant for the following:

(a) Actual damages;
(b) Statutory damages;
(c) Costs and reasonable attorney’s fees;

 

 
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(d) For such other and further relief as the Court may deem just and proper.

PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY

Respectfully submitted this 12"" day of February, 2018.

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arene

By: ¢ a
Todd M. Friedman, Esq.
Law Offices of Todd M, Friedman, P.C.

Attorney for Plaintiff

 

 
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SUPERIOR COURT - MARTINEZ
COUNTY OF CONTRA COSTA
MARTINEZ, CA, 94553

POPAL VS RASH CURTIS
NOTICE OF CASH MANAGEMENT CONFERENCE CIVMSL18-00663
2. NOTICH: THE CASE MANAGEMENT CONFERENCE HAS BEEN SCHEDULED FOR;
DATE: 07/09/18 DEPT: 17 “TIME 8:30

THIS FORM, A COPY OF THE NOTICE TO PLAINTIFFS, THE ADR INFORMATION
SHHET, A BLANK CASE MANAGEMENT CONFERENCE QUESTIONNAIRE, AND A BLANK
STIPULATION FORM ARE TO BE SERVED ON OPPOSING PARTIES. ALL PARTIES
SERVED WITH SUMMONS AND COMPLAINT/CROSS-COMPLAINT OR THEIR ATTORNEY
OF RECORD MUS APPEAR,

2. You may stipulate to an earlier Case Management Conference. If
ali parties agree to an early Case Management Conference, pleasa
contact the Court Clerk's Office at (925)608-1000 for Unlimited civil
and Limited Civil cases for assignment of an earlier date.

3. You must be familiar with the case and be fully prepared to par~

ticipate effectively in the Case Management Conference and to discuss
the suitability of this case for the BASE Program, private mediation,
binding or non-binding arbitration, and/or use of a Special Master,

4. At any Case Management Conference the court may make pretrial
orders including the following:

a. an order establishing a discovery schedule

®. an order referring the case to arbitration

¢. an order transferring the case to limited jurisdiction

ad. an order dismissing fictitious defendants

6, an order scheduling exchange of expert witness information

£,° an order setting subsequent sgonference and the trial date

g.- an order consolidating cases

h. an order severing trial of cross-complaintsa or bifurcating
lasues

i, an order determining when demurrers and motions will be filed

SANCTIONS
Lf you do not file the Case Management Conference Questionnaire or
attend the Case Management Conference or participate effectively in
the Conference, the court may impose sanctions (including dismisgal of
the case and payment of money).

Clerk of ‘the Superior Court of Contra Costa County
I declare under penalty of perjury that I am not a party to this
action, and that I delivered or mailed a copy of this notice to the
person representing thea plaintiff/cross-vomplainant.

Dated: O2/13/18

 

3. OZUNA
Deputy Clerk of the Court

 

 
